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party can point to controlling decisions or data that the Court overlooked.” Id. (citation omitted);

see also Kolel Beth Yechiel Mechil of Tartikov, Inc. v. YLL Irrevocable Tr., 729 F.3d 99, 104 (2d

Cir. 2013) (explaining that reconsideration should be granted “only when the [movant] identifies

‘an intervening change of controlling law, the availability of new evidence, or the need to correct

a clear error or prevent manifest injustice’” (quoting Virgin Atl. Airways, Ltd. v. Nat’l Mediation

Bd., 956 F.2d 1245, 1255 (2d Cir. 1992))).

        “[S]pecial considerations come into play,” however, “[w]hen vacatur is sought in order to

obtain leave to file a[] [first] amended complaint.” Mandala v. NTT Data, Inc., 88 F.4th 353,

361 (2d Cir. 2023). To balance the “liberal spirit” of Federal Rule of Civil Procedure 15, which

provides for leave to amend “when justice so requires,” with the strict finality of Rule 60, which

provides narrow avenues for relief from a final judgment, the Second Circuit has generally

“ensure[d]” that plaintiffs seeking post-judgment leave to amend are given “at least one

opportunity to replead,” so long as there is no “undue delay, bad faith[,] or dilatory motive on the

part of the movant . . . [or] undue prejudice to the opposing party,” and any amendment would

not be futile. Id. at 361–62 (quotations omitted).

                                                ANALYSIS 1

        MLC raises four grounds on which the Court should vacate its judgment and reconsider

its dismissal order or, alternatively, vacate the judgment to allow MLC to move to file an

amended complaint.

        First, MLC contends that the Court did not consider that Spotify has failed to properly

account for and pay royalties to MLC in connection with Spotify’s Audiobooks Access plan.



1
 The Court presumes familiarity with the facts alleged in the complaint, Compl., ECF No. 1, and the reasoning
supporting the dismissal order, see generally MLC, 2025 WL 328001, and does not repeat them here other than as
necessary.

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Mem. at 2–3. The complaint’s only allegation related to this claim is conclusory, and there are

no facts to support it—particularly, no facts related to Spotify’s reporting and payment of

royalties in connection with its Audiobooks Access plan. See Compl. ¶ 58, ECF No. 1.

Accordingly, the Court was not required to credit the allegation. See Ashcroft v. Iqbal, 556 U.S.

662, 681 (2009). Even if MLC had properly pleaded the claim, MLC likely forfeited it by failing

to raise it in its briefing opposing Spotify’s motion to dismiss. See Colbert v. Rio Tinto PLC,

824 F. App’x 5, 11 (2d Cir. 2020) (explaining that claims not raised by a counseled plaintiff in

opposition to a motion to dismiss may be deemed abandoned provided there is no “manifest

injustice”); e.g., Wilkov v. Ameriprise Fin. Servs., Inc., 753 F. App’x 44, 46 n.1 (2d Cir. 2018).

And, if the claim were not abandoned, the Court would have dismissed it on the merits for lack

of supporting facts. See Iqbal, 556 U.S. at 681.

       The Court’s decision not to address MLC’s conclusory claim that it inadvertently or

strategically forfeited does not present the “proverbial rare case” of manifest injustice. Colbert,

824 F. App’x at 11 (quotation omitted). MLC’s request for reconsideration is, therefore, denied.

Nevertheless, because the claim is not demonstrably futile and the Court has a “strong preference

for resolving disputes on the merits” rather than on the technical ground of procedural default,

the Court will allow MLC to seek leave to plead the claim in an amended complaint. Mandala,

88 F.4th at 362 (quotation omitted).

       Second, MLC seeks reconsideration based on a theory that it did not raise directly in its

complaint or opposition papers, but which MLC believes could have been inferred from the

complaint: that Spotify has improperly used the price of the Audiobooks Access plan as the

standalone retail price of the non-music component of Premium when calculating the royalties

due in connection with Premium. Mem. at 3–4. “[A] searching review of the complaint,”



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however, does not reveal facts sufficient to support the conclusion that Spotify used the price of

Audiobooks Access as the standalone, non-music price component in Premium’s Bundle royalty

formula. Farsura v. QC Terme US Corp., No. 21 Civ. 9030, 2022 WL 16838212, at *3

(S.D.N.Y. Nov. 8, 2022). MLC’s request that the Court reconsider the dismissal order in light of

this claim is, therefore, denied. See Analytical Survs., 684 F.3d at 52. Because the claim is not

demonstrably futile, however, the Court will allow MLC to seek leave to plead the claim in an

amended complaint.

       Third, MLC argues that the Court overlooked MLC’s allegations that Spotify repeatedly

certified the accuracy of its prior reporting of Premium as a standalone subscription offering.

Mem. at 5–6. These allegations are sufficient, MLC contends, to demonstrate that Premium is a

standalone subscription offering and not a Bundle. Id. at 8; Reply at 3–4, ECF No. 73.

       The Court did not overlook these allegations; it rejected them as irrelevant and

insufficient to establish that Premium is a standalone subscription offering. The fact that

“Spotify did not immediately report Premium as a Bundle to MLC in November 2023 although it

could have, and thus likely paid more in royalties to MLC than it was otherwise required to pay,

does not mean that Spotify’s later decision to reclassify Premium as a Bundle is invalid.” MLC,

2025 WL 328001, at *5. In other words, a music provider’s decision to classify its product as a

standalone subscription offering or a Bundle has no bearing on the Court’s independent analysis

of the legal issue. Although a provider’s over- or under-payment of royalties could bear on the

remedy ordered in a royalty reporting case, it has little relevance to a court’s analysis of the legal

question posed by the regulations: does a product qualify as a Bundle or is it a standalone

subscription offering? Although Providers like Spotify are required to make their reports and

royalty payments to MLC in good faith and to certify the accuracy of their reporting under 37



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C.F.R. § 210.27(i), any legal conclusion a provider draws in making those reports—including its

decision as to whether to classify the product as a Bundle or a standalone subscription offering—

does not factor into, and cannot supplant, the Court’s analysis of the issue. 2

         Accordingly, MLC’s allegations that Spotify reported Premium as a standalone

subscription offering when Premium included fifteen monthly hours of audiobook listening—

i.e., that Spotify likely paid more in royalties than it was otherwise required to pay—do not alter

the Court’s determination that Premium is properly characterized as a Bundle. MLC, 2025 WL

328001, at *5. Because the Court addressed this argument in its dismissal order and MLC has

not identified any controlling law or evidence that the Court overlooked in reaching its

conclusion, MLC’s request for reconsideration of this issue is denied. See Analytical Survs., 684

F.3d at 52.

         Fourth, MLC contends that the Court overlooked its arguments and engaged in improper

factfinding when the Court held that the complaint failed to plead facts sufficient to show that

fifteen hours of monthly audiobook listening is of no more than “token value.” Mem. at 6–7; see

MLC, 2025 WL 328.001, at *5–6. The Court considered and rejected these arguments in the

dismissal order, finding that “token value” for purposes of 37 C.F.R. § 385.2 is not limited to the

subjective views of Spotify and its users. See MLC, 2025 WL 328001, at *6 (“MLC cannot

plausibly claim that having access to audiobooks is not something of intrinsic and monetary

value to many, even if only a fraction of Spotify’s millions of Premium subscribers may take

advantage of it.”). MLC’s complaint contains no allegations suggesting that fifteen hours of

audiobook listening per month is something of merely “minimal, perfunctory, symbolic,

inconsequential, or insubstantial value” generally, id. (citation omitted), and MLC does not


2
  To borrow from Spotify’s analogy, a taxpayer’s certified belief that they overpaid their taxes is of no consequence
to a factfinder’s independent analysis of whether the taxpayer did, in fact, overpay. See Opp. at 9–10, ECF No. 72.

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suggest that it is prepared to make such allegations now. Indeed, the Court took judicial notice

of the “obvious” and “generally known” fact that “audiobooks generally are products of value,”

i.e., products that may be found for sale in commercial settings for more than a de minimis price,

and it rejected MLC’s claim of improper factfinding head-on. Id. at *6 n.6. Because the Court

addressed MLC’s arguments in its dismissal order and MLC has not identified any controlling

law or evidence that the Court overlooked in reaching its conclusion, MLC’s request for

reconsideration of this issue, too, is denied.

           In sum, the Court denies MLC’s request under Rules 59(e) and 60(b) to reconsider the

dismissal order. The Court will, however, vacate the judgment to allow MLC to seek leave to

file an amended complaint addressing the first and second claims discussed above—that Spotify

has allegedly underpaid the royalties due on the Audiobooks Access plan and improperly

calculated the royalties owed in connection with Premium by relying on Audiobooks Access as

the standalone subscription price of the Bundle’s non-music component.

                                                   CONCLUSION

           For the reasons stated above, MLC’s motion is DENIED IN PART and GRANTED IN

PART. The Clerk of Court is respectfully directed to terminate the motion at ECF No. 70, vacate

the judgment at ECF No. 62, and reopen the case. Within 21 days of the date of this order, MLC

shall file its motion for leave to amend the complaint. 3

           SO ORDERED.

Dated: March 11, 2025
       New York, New York




3
    MLC need not file a pre-motion letter prior to filing its contemplated motion for leave to amend.

                                                            6
